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 The following constitutes the ruling of the court and has the force and effect therein described.


 Signed February 24, 2021
                                            United States Bankruptcy Judge
______________________________________________________________________




BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
National Rifle Association of America                      §    Case No.: 21−30085−hdh11
                                                           §    Chapter No.: 11
                                        Debtor(s)          §


                              ORDER FOR ADMISSION PRO HAC VICE
     The Court, having considered the Application for Admission Pro Hac Vice of Arthur A. Greenberg, to
represent Member Marketing Partners LLC, related to document 212, ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
